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      Exhibit 5
     Response to
      Plaintiff’s
     Request for
     Admissions
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


LAURA E. LOPERA,                               )
                                               )
               PLAINTIFF,                      )
                                               )
       v.                                      )
                                                     CIVIL ACTION NO. 1:20-cv-10355-NMG
                                               )
COMPASS GROUP USA, INC. AND                    )
MARIE MONTFLEURY,                              )
INDIVIDUALLY,                                  )
                                               )
               DEFENDANTS.
                                               )
                                               )

    DEFENDANT COMPASS GROUP, INC.’S RESPONSE TO PLAINTIFF’S FIRST
                    REQUESTS FOR ADMISSION

       Pursuant to Fed. R. Civ. P. 36, Defendant Compass Group USA, Inc. (“Compass” or

“Defendant”) hereby responds to Plaintiff Laura E. Lopera’s (“Plaintiff” or “Lopera”) Requests

for Admission as follows:


                               PRELIMINARY STATEMENT

       Defendant incorporates each of the following statements and objections into each of its

responses to Plaintiff’s Requests for Admission as though fully stated in each response. Defendant

makes its responses subject to and without waiving any of these statements and objections.
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REQUEST NO. 8

On or before April 9, 2018, Compass represented to Plaintiff that she was being hired in the
position of “Patient Service Manager” at BMC.

RESPONSE TO REQUEST NO. 8

       Denied, except admitted that Morrison Management Specialists, Inc. hired Plaintiff in the

position of Manager, Patient Services II, also known as Patient Services Manager II and Patient

Services Manager Assistant and described in the position description for Patient Services Manager.

REQUEST NO. 9

Thereafter, Compass assigned Plaintiff to the position of “Patient Services Manager Assistant.”

RESPONSE TO REQUEST NO. 9

       Denied, except admitted that Morrison Management Specialists, Inc. hired and assigned

Plaintiff in the position of Manager, Patient Services II, also known as Patient Services Manager

II and Patient Services Manager Assistant and described in the position description for Patient

Services Manager.

REQUEST NO. 10

On one or more occasions prior to April 9, 2018, Compass told Plaintiff that she would report to
Katrina Parson.

RESPONSE TO REQUEST NO. 10

       Denied, except admitted that in or around April 2018, the position of Manager, Patient

Services II with Morrison Management Specialists, Inc. at Boston Medical Center, also known as

Patient Services Manager Assistant, reported day-to-day to the individual in the position of

Manager, Patient Services I, also known as Patient Services Manager I and Senior Patient Services

Manager, which, in turn, reported to the position of Associate Director I, also known as Associate

Director of Patient Services, and that Katrina Parsons was in the position of Associate Director I

during Plaintiff’s employment with Morrison Management Specialists, Inc.



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REQUEST NO. 11

On or after April 9, 2018, Compass required Plaintiff to report to Marie Montfleury.

RESPONSE TO REQUEST NO. 11

        Denied, except admitted that in or around April 2018 and for some period of time

thereafter, the position of Manager, Patient Services II with Morrison Management Specialists,

Inc. at Boston Medical Center, also known as Patient Services Manager Assistant, reported day-

to-day to the individual in the position of Manager, Patient Services I, also known as Patient

Services Manager I and Senior Patient Services Manager, who was, during the period of Plaintiff’s

employment with Morrison Management Services, Inc., Marie Monfleury.

REQUEST NO. 12

From April 9, 2018 onward, Plaintiff did not report to Katrina Parson.

RESPONSE TO REQUEST NO. 12

        Denied, except admitted that from April 9, 2018 onward, Plaintiff did not directly report to

Katrina Parsons on a day-to-day basis, but Ms. Parsons had management responsibility over

Plaintiff.

REQUEST NO. 13

Between April 9, 2018 and August 7, 2018, Marie Montfleury held the position of Patient Services
Manager.

RESPONSE TO REQUEST NO. 13

        Denied, except admitted that between April 9 and August 7, 2018, Marie Monfleury held

the position of Manager, Patient Services I, also known as Patient Services Manager I or Senior

Patient Services Manager, with Morrison Management Services, Inc. at Boston Medical Center.




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